8:10-cr-00158-LSC-SMB          Doc # 631     Filed: 02/01/13       Page 1 of 6 - Page ID # 1868



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                                                  CASE NUMBER: 8:10CR158-013
                      Plaintiff,
                                                  USM Number: 02336-184
       vs.

SANDRA OLIVIA MEDINA                              STUART J. DORNAN
                                                  DEFENDANT’S ATTORNEY
                      Defendant.


                             JUDGMENT IN A CRIMINAL CASE
                   (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count I of the Information on 08/28/2012.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following
offense(s):

      Title, Section & Nature of Offense           Date Offense Concluded       Count Number

21:846CONSPIRACY TO DISTRIBUTE MORE               April 12, 2010                       1s
THAN 50 KILOGRAMS BUT LESS THAN 100
KILOGRAMS OF MARIJUANA

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

The Second Superseding Indictment is dismissed on the motion of the United States as to this
defendant only.

The defendant shall cooperate in the collection of DNA, pursuant to Public Law 108-405
(Revised DNA Collection Requirements under the Justice for All Act of 2004).

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                           Date of Imposition of Sentence:
                                                           January 31, 2013

                                                           /s/ Lyle E. Strom
                                                           Senior United States District Judge

                                                           February 1, 2013
8:10-cr-00158-LSC-SMB             Doc # 631   Filed: 02/01/13       Page 2 of 6 - Page ID # 1869
Defendant: SANDRA OLIVIA MEDINA                                                           Page 2 of 6
Case Number: 8:10CR158-013


                                          PROBATION

The defendant is hereby sentenced to probation for a term of (three) 3 years.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant
shall submit to one drug test within 15 days of release from imprisonment and at least two
period drug tests thereafter.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

       If this judgment imposes a fine or a restitution obligation, it shall be a condition of
probation that the defendant pay any such fine or restitution in accordance with the Schedule of
Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this
court (set forth below). The defendant shall also comply with any additional conditions.


                        STANDARD CONDITIONS OF SUPERVISION

1.      The defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      The defendant shall report to the probation officer in a manner and frequency directed by
        the court or probation officer.
3.      The defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      The defendant shall support his or her dependents and meet other family
        responsibilities;
5.      The defendant shall work regularly at a lawful occupation, unless excused by the
        probation officer for schooling, training, or other acceptable reasons;
6.      The defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      The defendant shall refrain from excessive use of alcohol and shall not purchase,
        possess, use, distribute, or administer any controlled substance or any paraphernalia
        related to any controlled substances, except as prescribed by a physician;
8.      The defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      The defendant shall not associate with any persons engaged in criminal activity and
        shall not associate with any person convicted of a felony, unless granted permission to
        do so by the probation officer;
10.     The defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;



                                                 2
8:10-cr-00158-LSC-SMB             Doc # 631   Filed: 02/01/13      Page 3 of 6 - Page ID # 1870
Defendant: SANDRA OLIVIA MEDINA                                                            Page 3 of 6
Case Number: 8:10CR158-013


11.     The defendant shall notify the probation officer within seventy-two hours of being
        arrested or questioned by a law enforcement officer;
12.     The defendant shall not enter into any agreement to act as an informer or a special
        agent of a law enforcement agency without the permission of the court;
13.     As directed by the probation officer, the defendant shall notify third parties of risks that
        may be occasioned by the defendant’s criminal record or personal history or
        characteristics and shall permit the probation officer to make such notifications and to
        confirm the defendant’s compliance with such notification requirement.

                          SPECIAL CONDITIONS OF SUPERVISION

1.      The defendant shall cooperate in the collection of DNA as directed by the probation
        officer, pursuant to the Public Law 108-405 (Revised DNA Collection Requirements
        Under the Justice for All Act of 2004),if such sample was not collected during
        imprisonment.

2.      Pursuant to 18 U.S.C. § 3583(d), the defendant shall submit to a drug test within fifteen
        (15) days of release on probation and at least two (2) periodic drug tests thereafter to
        determine whether the defendant is using a controlled substance. Further, the
        defendant shall submit to such testing as requested by any probation officer to detect the
        presence of alcohol or controlled substances in the defendant's body fluids and to
        determine whether the defendant has used any of those substances. Based on the
        defendant's ability to pay, the defendant shall pay for the collection of urine samples to
        be tested for the presence of alcohol and/or controlled substances in an amount to be
        determined by the probation officer.

3.      Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of
        merely refraining from excessive use of alcohol, the defendant shall not purchase or
        possess, use, distribute, or administer any alcohol, just the same as any other narcotic
        or controlled substance.

4.      The defendant shall submit his or her person, residence, office, or vehicle to a search
        conducted by a United States Probation Officer at any time; failure to submit to a search
        may be grounds for revocation; the defendant shall warn any other residents that the
        premises may be subject to searches pursuant to this condition.

5.      The defendant shall attend, pay for and successfully complete any diagnostic
        evaluations, treatment or counseling programs, or approved support groups (e.g.,
        AA/NA) for alcohol and/or controlled substance abuse, as directed by the probation
        officer.

6.      The defendant shall attend, successfully complete, and pay for any mental health
        diagnostic evaluations and treatment or counseling programs as directed by the
        probation officer.

7.      The defendant shall attend, successfully complete, and pay for an approved cognitive-
        behavioral based program as directed by the probation officer.

8.      The defendant shall be monitored by Radio Frequency (RF) Monitoring for a period of
        12 months and shall abide by all technology requirements. The participant shall pay the
        costs of participation in the location monitoring program as directed by the court and the

                                                 3
8:10-cr-00158-LSC-SMB             Doc # 631   Filed: 02/01/13     Page 4 of 6 - Page ID # 1871
Defendant: SANDRA OLIVIA MEDINA                                                           Page 4 of 6
Case Number: 8:10CR158-013


        probation officer. This form of location monitoring technology shall be utilized to monitor
        the following restriction on the defendant's movement in the community as well as other
        court-imposed conditions of release:


        You are restricted to your residence at all times except for employment; education;
        religious services; medical, substance abuse, or mental health treatment; attorney visits;
        court appearances; court-ordered obligations; or other activities as pre-approved by the
        officer (Home Detention).

9.      The defendant shall report to the Supervision Unit of the U.S. Probation Office for the
        District of Arizona between the hours of 8:00 a.m. and 4:30 p.m., 405 West Congress
        Street, Suite 2400, Tucson, Arizona, within seventy-two (72) hours of release from
        confinement, and, thereafter, as directed by the probation officer




                                                 4
8:10-cr-00158-LSC-SMB             Doc # 631    Filed: 02/01/13   Page 5 of 6 - Page ID # 1872
Defendant: SANDRA OLIVIA MEDINA                                                          Page 5 of 6
Case Number: 8:10CR158-013


                              CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

      Total Assessment                        Total Fine                 Total Restitution

            $100.00

The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that interest requirement is waived.


                                                FINE
No fine imposed.
                                         RESTITUTION

No restitution imposed.
                                   SCHEDULE OF PAYMENTS


The defendant shall pay the special assessment in the amount of $100.00 immediately.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of
the criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant
shall participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
Program, the defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly
installments of $100 or 3% of the defendant’s gross income, whichever is greater; (b) the first
payment shall commence 30 days following the defendant’s discharge from incarceration, and
continue until the criminal monetary penalty is paid in full; and (c) the defendant shall be
responsible for providing proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the
following order of priority: special assessment; restitution; fine; and other penalties. Unless
otherwise specifically ordered, all criminal monetary penalty payments, except those payments
made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be
made to the clerk of the Court. Unless otherwise specifically ordered, interest shall not accrue
on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of the U. S. District Court, 111 S.
18th Plaza, Suite 1152, Omaha, NE 68102-1322 or Clerk of the U. S. District Court, 100
Centennial Mall North, 593 Federal Building, Lincoln, NE 68508.


                                                  5
8:10-cr-00158-LSC-SMB             Doc # 631    Filed: 02/01/13   Page 6 of 6 - Page ID # 1873
Defendant: SANDRA OLIVIA MEDINA                                                        Page 6 of 6
Case Number: 8:10CR158-013


The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly
payment amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is
necessary to liquidate and apply the proceeds of such property as full or partial payment of the
criminal monetary penalty.



CLERK'S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk




                                                 6
